              Case 1:17-cv-00364-SS Document 1-4 Filed 04/21/17 Page 1 of 14

                                                                                3/28/2017 11 :24:35 AM
                                                                                                      Velva L. Price
                                                                                                     District Clerk
                                                                                                     Travis County
                                                 D-1-GN-17-001332                                 D-1-GN-17-001332
                                      CAUSE NO. _ _ _ _ __
                                                                                                 victoria benavides

JEANE BOLIN                                       §    IN THE DISTRICT COURT
                                                  §
vs.                                               §    TRAVIS COUNTY, TEXAS
                                                  §
STATE AUTOMOBIILE MUTUAL                          § 126TH
INSURANCE COMPANY                                 §         DISTRICT COURT

                          PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND
                                 AND REQUEST FOR DISCLOSURE

         COMES NOW, Jeane Bolin, Plaintiff herein, and file Plaintiffs Original Petition, Jury

Demand and Request for Disclosure, complaining of State Automobile Mutual Insurance

Company ("State Automobile Mutual" or "Defendant"), and for cause of action, Plaintiff

respectfully shows the following:

                                                     I.

                                      DISCOVERY CONTROL PLAN

         1.         Plaintiff intends to conduct discovery under Level 3, Texas Rules of Civil

Procedure 190.4 and 169. Pursuant to Rule 190.4 of the Texas Rules of Civil Procedure, Plaintiff

intends to conduct discovery under Level 3. Plaintiff seeks monetary relief over $200,000, but

not more than $1,000,000. TEX. R. CN. P. 47(c) (4).

                                                    II.

                                                PARTIES

        2.          Plaintiff, Jeane Bolin, resides in Colorado City, Mitchell County, Texas.

        3.          Defendant, State Automobile Mutual Insurance Company, is a foreign insurance

company, engaged in the business of insurance in the State of Texas. Plaintiff requests service of

citation by certified mail, return receipt requested, upon State Automobile Mutual Insurance
       ~~~~~              .
Comp~at:+.tli~1_K4,dress listed on the Texas Department of Insurance: Corporation Service
      J7Gi*".·,,.,~
      l1&n    !~r;
      i}v:l     '   '     ,!::;:;.,

      ~~~-     .>;'"~/
       ..,~~r.::~.-6?
                                                  EXHIBIT
               •<m;:=.-                     ~

                                            j       A--t                                                      1
             Case 1:17-cv-00364-SS Document 1-4 Filed 04/21/17 Page 2 of 14




Company, 21 I East 7fu Street, Suite 620, Austin, TX 78701-3218. Plaintiff requests service at

this time.

                                                         III.
                                        JURISDICTION AND VENUE

        4.             The Court has jurisdiction over State Automobile Mutual because this Defendant

engages in the business of insurance in the State of Texas, and the causes of action arise out of

Defendant's business activities in the state, including those in Travis County, Texas, with

reference to this specific case.

        5.         Venue is proper in Travis County, Texas because State Automobile's Western

Headquarters is located at 59 I8 West Courtyard Drive, Suite I 00, Austin, Travis County, Texas

Texas. TEX. CN. PRAC. & REM. CODE§ 15.032.

                                                         IV.

                                                        FACTS

        6.             Plaintiff asserts a claim for fraud, breach of contract, violations of sections 54 I

and 542 of the Texas Insurance Code, and violations of the Texas DTPA.

        7.         Plaintiff owns a State Automobile Mutual homeowner's insurance policy number

FO 2600787("the Policy''), which was issued by State Automobile Mutual. At all relevant times,

Plaintiff owned the insured premises located at 2238 Hwy I 63, Colorado City, Texas 79512

("the Property'').

        8.         Defendant, or its agent, sold the Policy, insuring the Property, to Plaintiff.

Defendant represented to Plaintiff that the Policy included coverage for damages to Plaintiffs

home and outbuildings .

       .~t:ll'"'"·~~~r about April 16, 2016, the Property sustained extensive damage resulting
      l~~~
      J!~- ~t\     ~1..,11                          .
from ~.~v         -roqit.!;hat passed through the Mitchell County, Texas area.
      o:;,;t;.~     ':/.¥,;1
       ~"'     -.... ,.
         'V.~.lb:r.,~~?
              .=.r.~
                        ""                                2


                                                                                                              2
              Case 1:17-cv-00364-SS Document 1-4 Filed 04/21/17 Page 3 of 14




         10.           In the aftermath of the storm, Plaintiff submitted a claim to Defendant against the

Policy for damage to the Property. State Automobile Mutual assigned claim number PR-

0000000-130047 to Plaintiffs claim.

         11.           Plaintiff asked Defendant to cover the cost of damage to the Property pursuant to

the Policy.

         I 2.          Defendant hired or assigned its agent to inspect and adjust the claim. After its

agent conducted their inspections on several different occasions, Defendant generated an

estimate of damages that grossly underestimated the cost of repairs to the roofs and exterior.

         13.           Defendant has ultimately refused full coverage which includes, but is not limited

to, replacement of the seven (7) roofs and exterior damages.

         14.           The damage to Plaintiffs Property is currently estimated at over $377,812.

         15.           As stated above, Defendant improperly and unreasonably adjusted Plaintiffs

claim. Without limitation, Defendant misrepresented the cause of, scope of, and cost to repair

damages to Plaintiff's Property.

         16.           Defendant made these and other false representations to Plaintiff, either

knowingly or recklessly, as a positive assertion; without knowledge of the truth. Defendant made

these false representations with the intent that Plaintiff act in accordance with the

misrepresentations regarding the grossly deficient damage and repair estimates property by

Defendant and its agents.

         17.           Plaintiff relied on Defendant's misrepresentations, including but not limited to

those regarding coverage, the cause of, scope of, and cost to repair the damage to Plaintiffs

Property. Plaintiff's damages are the result of Plaintiffs reliance on these misrepresentations.
        ~~~
       ·~~~·~<:4t~
      ! ...        'I· "'·"''""
     J.r~J~ r~· '1St:
     v.fl ""'~~~ /- •,
                ,l.;.i r;'
                              < ;,..,. ;::;



      ~~~                     ~j~~"t
       ~'-- ··; i!r,o"o"
        '>;"'-"'-.t]r,xl'v":: - .r:r                    3
           --..,.b.,r.oo;::::.::$.""




                                                                                                             3
         Case 1:17-cv-00364-SS Document 1-4 Filed 04/21/17 Page 4 of 14




       18.     Upon receipt of the inspection and estimate report, Defendant failed to assess the

claim thoroughly. Based upon Defendant's grossly unreasonable, intentional, and reckless failure

to investigate the claim properly prior to underpaying coverage, Defendant failed to provide

coverage due under the Policy, and Plaintiff suffered damages.

       19.     Because Defendant failed to provide coverage for Plaintiff's insurance claim,

Plaintiff has been unable to complete any substantive repairs to the Property. This has caused

additional damage to Plaintiffs Property.

       20.     Furthermore, Defendant failed to perform their contractual duties to Plaintiff

under the terms of the Policy. Specifically, Defendant refused to pay full proceeds due under the

Policy, based on its substandard and unreasonable estimate, although due demand was made for

an amount sufficient to cover the damaged Property, and all conditions precedent to recover

upon the Policy were carried out by Plaintiff

       21.     Defendant's misrepresentations, unreasonable delays, and continued denials

constitute a breach of the statutory obligations under Chapters 541 and 542 of the Texas

Insurance Code. Thus, the breach of the statutory duties constitutes the foundation of a breach of

the insurance contract between Defendant and Plaintiff.

       22.     Defendant's conduct constitutes a violation of the Texas Insurance Code, Unfair

Settlement Practices. TEX. INS. CODE §541.060(a) (!). Defendant has failed to settle Plaintiffs

claim in a fair manner, although Defendant was aware of their liability to Plaintiff under the

Policy. Specifically, Defendant has failed, in an honest and fair manner, to balance their own

interests in maximizing gains and limiting disbursements, with the interests ofPlaintiffby failing




                                                                                                     4
                 Case 1:17-cv-00364-SS Document 1-4 Filed 04/21/17 Page 5 of 14




           23.               Defendant's conduct constitutes a violation of the Texas Insurance Code, Unfair

Settlement Practices. TEX. INS. CODE §541.060(a) (2) (A). Defendant failed to provide Plaintiff a

reasonable explanation for underpayment of the claim.

           24.               Additionally, after Defendant received numerous demands for payment of the

damage sustained by Plaintiff, Defendant has not communicated that any future settlements or

payments would be forthcoming to pay for the entire loss covered under the Policy, nor did it

provide any reasonable explanation for failing to settle Plaintiff's claim properly.

           25.               Defendant's conduct constitutes a violation of the Texas Insurance Code, Unfair

Settlement Practices. TEX. INS. CODE §541.060(a) (4).                    Defendant refused to provide full

coverage to Plaintiff under the Policy due to Defendant's failure to conduct a reasonable

investigation.

          26.                Specifically, Defendant, through its agents, servants and representatives,

performed an outcome-oriented investigation of Plaintiffs claims, which resulted in a biased,

unfair, and inequitable evaluation of Plaintiff's losses on the Property.

          27.                Defendant's conduct constitutes a violation of the Texas Insurance Code, Prompt

Payment of Claims. TEX. INS. CODE §542.055. Defendant failed to reasonably accept or deny

Plaintiff's full and entire claim within the statutorily mandated time after receiving all necessary

information.

          28.                Defendant's conduct constitutes a violation of the Texas Insurance Code, Prompt

Payment of Claims. TEX. INs. CODE §542.056. Defendant failed to meet their obligations under

the Texas Insurance Code regarding timely payment of the claim.                      Specifically, Defendant

delayed full payment of Plaintiff's claim based on the unreasonable and' substandard estimate,

longer!~~~. and Plaintiff has not received rightful payment for Plaintiffs claim.
      l.·,;g·/~·1~-.,s.~.~.
      ~1 old I                      '~~ ::_,
      t!, TD,I       /       ',    ,J~ Jj'
       ~~b~                   Y,..;:<j'
         ~           lfi"' 'If,,.
                 "4.J.;:.~:r.~""!.§'"                       5


                                                                                                               5
               Case 1:17-cv-00364-SS Document 1-4 Filed 04/21/17 Page 6 of 14




          29.                 Defendant's wrongful acts and omissions forced Plaintiff to retain the

professional services of the attorneys and law firm representing them with respect to these causes

of action.

                                                                 v.
                                                CAUSES OF ACTION AGAINST DEFENDANT

                                                          Breach of Contract

         30.                 Defendant is liable to Plaintiff for intentional violations of the Texas Insurance

Code, and intentional breach of the common law duty of good faith and fair dealing. It follows,

then, that the breach of the statutory duties constitutes the foundation of an intentional breach of

the insurance contract between Defendant and Plaintiff.

         3 I.                Defendant's failure and/or refusal to pay adequate coverage as obligated under the

Policy, and under the laws of the State of Texas, constitute a breach of Defendant's insurance

contract with Plaintiff

           Noncompliance with the Texas Insurance Code: Unfair Settlement Practices

         32.                 Defendant's conduct constitutes multiple violations of the Texas Insurance Code,

Unfair Settlement Practices. TEX. INs. CODE §541.060(a). All violations under this article are

actionable by TEX. INS. CODE §541.151.

         33.                 Defendant's unfair settlement practice of misrepresenting to Plaintiff material

facts relating to coverage constitutes an unfair method of competition and a deceptive act or

practice in the business of insurance. TEX. INS. CODE §541.060(a) (!).

         34.                 Defendant's unfair settlement practice of failing to attempt in good faith to make

a prompt, fair, and equitable settlement of the claim, even though Defendant's liability under the

         ~~~.
      l ...
     ~lM'f
     i.~·'~\
              v*.
     Ji l...i 1. ""'.'.,·
               I
                     '   '
                         ~
                             ....
                                    'i'"'l ..
                                    ~~~'
                                     ..'~&~
        ~_;-,:
              * ;:; :; ,. ,
                  1<,-s/
           ~~~-~~~·
                                :..!'>'£/
                                                                  6


                                                                                                                  6
                  Case 1:17-cv-00364-SS Document 1-4 Filed 04/21/17 Page 7 of 14




Policy was reasonably clear, constitutes an unfair method of competition and a deceptive act or

practice in the business of insurance. TEx. INs. CODE §541.060(a) (2) (A).

            35.              Defendant's unfair settlement practice of failing to provide Plaintiff a prompt and

reasonable explanation of the basis in the Policy, in relation to the facts or applicable law, for

underpayment and denial of the claim, constitutes an unfair method of competition and a

deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(a) (3).

            36.              Defendant's unfair settlement practice of refusing to pay Plaintiff's full claim

without conducting a reasonable investigation constitutes an unfair method of competition and a

deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(a) (7).

         Noncompliance with the Texas Insurance Code: The Prompt Payment of Claims

            37.             Defendants conduct constitutes multiple violations of the Texas Insurance Code,

Prompt Payment of Claims. All violations made under this article are actionable under TEX. INS.

CODE §542.060.

            38.             Defendant's delay in paying Plaintiffs claim following receipt of all items,

statements, an forms reasonably requested and required, for longer than the amount of time

provided, constitutes a non-prompt payment of the claim. TEX. INS. CODE §542.058.

                                             Breach of the Duty of Good Faith and Fair Dealing

           39.              Defendant's conduct constitutes a breach of the common law duty of good faith

and fair dealing owed to an insured in insurance contracts.

           40.              Defendant's failure to adequately and reasonably investigate and evaluate

Plaintiff's claim, even though Defendant knew or should have known by the exercise of

reasonable diligence that liability was reasonably clear, constitutes a breach of the duty of good

faith                      ~"
                           ~ll .
        • ... /~•
        J:!d,l
                •, ~u\~(jf'\1,
                     ??'IM'tl
        t:~~!             ~-         '~·~;
        i:1'F'I       /     •,       ,!~.~
        'V::':b}:.:          Y~.w
          ~ i;;c;·: ~~··
             "~" Jr.,;,;!'u"::&.
                  -..;.._,.~:.~~""                                   7


                                                                                                                   7
         Case 1:17-cv-00364-SS Document 1-4 Filed 04/21/17 Page 8 of 14




                                        DTPA Violations

       41.     Defendant's conduct constitutes multiple violations of the Texas Deceptive Trade

Practices Act ("DTPA"). TEX. Bus. & COM. CODE I 7.4 I -63. Plaintiff is a consumer of goods and

services provided by Defendant pursuant to the DTPA. Plaintiff has met all conditions precedent

to bring this cause of action against Defendant. Specifically, Defendant's violations of the DTPA

include, without limitation, the following matters:

               A. By its acts, omissions, failures, and conduct, Defendant has violated sections

                   17.46(b) (2), (5), (7), (9), (12), (20) and (24) of the DTPA. Defendant's

                   violations include: (I) unreasonable delays in the investigation, adjustment,

                   and resolution of Plaintiff's claim; (2) failure to give Plaintiff the benefit of

                   the doubt; and (3) failure to pay for the proper repair of Plaintiff's property

                   when liability has become reasonably clear, which gives Plaintiff the right to

                   recover under section I 7.46(b)(2);

               B. Defendant represented to Plaintiff that the Policy and Defendant's adjusting

                   agent and investigative services had characteristics or benefits they did not

                  possess, which gives Plaintiff the right to recover under section I 7.46(b)(5) of

                   theDTPA;

               C. Defendant represented to Plaintiff that Defendant's Policy and adjusting

                   services were of a particular standard, quality, or grade when they were of

                   another, in violation of section I 7.46(b)(7) of the DTPA;

               D. Defendant advertised the Policy and adjusting services with the intent not to

                  sell them as advertised in violation of section I 7.46(b)(9) of the DTPA;




                                                 8


                                                                                                       8
         Case 1:17-cv-00364-SS Document 1-4 Filed 04/21/17 Page 9 of 14




              E. Defendant breached an express warranty that the damages caused by wind and

                  hail would be covered under the Policy. This breach entitles Plaintiff to

                  recover under sections 17.46(b) (12) and (20) and 17.50(a) (2) of the DTPA.

              F. Defendant's actions are unconscionable in that Defendant took advantage of

                  Plaintiff's lack of knowledge, ability, and experience to a grossly unfair

                  degree. Defendant's unconscionable conduct gives Plaintiff a right to relief

                  under section 17.50(a)(3) of the DTPA; and

              G. Defendant's conduct, acts, omissions, and failures, as described in this

                  petition, are unfair practices in the business of insurance in violation of

                  section 17.50(a)(4) of the DTPA.

        42.   Each of the above-described acts, omissions, and failures of Defendant is a

producing cause of Plaintiffs damages. All of Defendant's acts, omissions, and failures were

committed "knowingly'' and "intentionally," as defmed by the Texas Deceptive Trade Practices

Act.

                                            Fraud

       43.    Defendant is liable to Plaintiff for common law fraud.

       44.    Every misrepresentation described above concerned material facts that absent

such representations, Plaintiff would not have acted as she did, and Defendant knew the

representations were false or made recklessly without any knowledge of their truth as a positive

assertion.

       45.    Defendant made these statements intending that Plaintiff act upon them. Plaintiff

then acted in reliance upon these statements, thereby causing Plaintiff to suffer injury




                                               9


                                                                                                   9
              Case 1:17-cv-00364-SS Document 1-4 Filed 04/21/17 Page 10 of 14




                                                   Knowledge

          46.           Defendant made each of the acts described above, together and singularly,

"knowingly," as defined in the Texas Insurance Code, and each was a producing cause of

Plaintiff's damages described herein.

                                             Waiver and Estoppel

          47.           Defendant waived and is estopped from asserting any coverage defenses,

conditions, exclusions, or exceptions to coverage not contained in any reservation of rights letter

to Plaintiff.

                                                       VI.

                                                  DAMAGES

         48.           The damages caused to the Property have not been properly addressed, repaired or

replaced since the claim was made, causing further damage to the Property, and undue hardship

and burden to Plaintiff These damages are a direct result of Defendant's mishandling of

Plaintiff's claims in violation of the laws set forth above.

         49.           Plaintiff currently estimates that actual damages to the Property under the Policy

are in excess of$377,812.

         50.           Plaintiffs would show that all of the aforementioned acts, taken together or

singularly, constitute the producing causes of damages sustained. The above-described acts,

omissions, failures, and conduct of Defendant has caused Plaintiff's damages which include,

without limitation, the cost to properly repair Plaintiff's Property and any investigative and

engineering fees incurred.

         51.           For breach of contract, Plaintiff is entitled to regain the benefit of her bargain,
              ~~
which
      ;, **'•
      ""I
      ~{;;f

      1,~~~
              110
                e·~~t of her claims, consequential damages, together with attorney's fees.
                          \'P'~
                   .~.:::PI,z::..--
       :,-..:::,!'- ;& "r'#
                /Z    \   ..
                             '"'"
                            /~~
                         \:\'>>'''
                  >;:.;.. .,.?
              "~" Jr.~:.;J\,;
               ""'->;,oa=~~                            10


                                                                                                             10
         Case 1:17-cv-00364-SS Document 1-4 Filed 04/21/17 Page 11 of 14




        52.     For noncompliance with the DTPA and Insurance Code, Unfair Settlement

Practices, Plaintiff is entitled to actual damages, which include the loss of benefits owed pursuant

to the Policy, mental anguish, court costs, and attorney's fees. For knowing and intentional

conduct of the acts described above, Plaintiff asks for three (3) times their actual damages. TEX.

INS. CODE §541.152 and TEX. Bus. & COM. CODE 17.50(b) (1).

        53.     For noncompliance with Texas Insurance Code, Prompt Payment of Claims,

Plaintiff is entitled to the amount of her claims, plus an eighteen percent (18%) per annum

penalty on those claims, as damages, as well as pre-judgment interest and reasonable attorney's

fees. TEX. INS. CODE §542.060.

        54.     For breach of the common law duty of good faith and fair dealing, Plaintiff is

entitled to compensatory damages, including all forms of loss resulting from Defendant's breach

of duty, such as additional costs, economic hardship, losses due to the nonpayment of the amount

owed, exemplary damages, and damages for emotional distress.

        55.     Defendant's breach of the common law duty of good faith and fair dealing was

committed intentionally, with a conscious indifference to Plaintiff's right and welfare, and with

"malice," as that term is defined in Chapter 41 of the Texas Civil Practice and Remedies Code.

These violations are the type of conduct which the State of Texas protects its citizens against by

the imposition of exemplary damages. Therefore, Plaintiff seeks the recovery of exemplary

damages in an amount determined by the finder of fact sufficient to punish Defendant for their

wrongful conduct and to set an example to deter Defendant and others from committing similar

acts in the future.




                                                 11


                                                                                                       11
        Case 1:17-cv-00364-SS Document 1-4 Filed 04/21/17 Page 12 of 14




       56.     For fraud, Plaintiff is entitled to recover actual and exemplary damages for

knowingly fraudulent and malicious representations, along with attorney's fees, interest, and

court costs.

       57.     For the prosecution and collection of this claim, Plaintiff has been compelled to

engage the services of the attorneys subscribed to this pleading. Therefore, under Chapter 38 of

the Texas Civil Practice and Remedies Code, sections 541 and 542 of the Texas Insurance Code,

and section 17.50 of the DTPA, Plaintiff is entitled to recover a sum for the reasonable and

necessary services of Plaintiff's attorneys in the preparation and trial of this action, including any

appeals to the Court of Appeals and/or the Supreme Court of Texas.

       58.     As required by Rule 47(b) of the Texas Ruies of Civil Procedure, Plaintiff's

counsel states that the damages sought are in an amount within the jurisdictional limits of this

Court. As required by Rule 47(c)(5) of the Texas Rules of Civil Procedure, Plaintiff's counsel

states that Plaintiff seeks monetary relief over $200,000, but not more than             $1,000,000,

including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney

fees. A jury will ultimately determine the monetary relief actually awarded. Plaintiff also seeks

pre-judgment and post-judgment interest at the highest legal rate.

                                                VII.

                                REQUESTS FOR DISCLOSURE

       59.     Under Texas Ruies of Civil Procedure 190 and 194, Plaintiff requests that

Defendant disclose, within fifty (50) days from the date this request is served, the information or

material described in Rule 190.2(b)(6) and 194.2.




                                                  12


                                                                                                         12
        Case 1:17-cv-00364-SS Document 1-4 Filed 04/21/17 Page 13 of 14




                                               VIII.

                                         JURY DEMAND

        60.    Plaintiff hereby requests a jury trial for all causes of action alleged herein, tried

before a jury consisting of citizens residing in Travis County, Texas. Plaintiff hereby tenders the

appropriate jury fee.

                                                IX.

                                             PRAYER

       61.     Plaintiff prays that Defendant, State Automobile Mutual Insurance Company be

cited and served to appear, and that upon trial hereof, Plaintiff, Jeane Bolin, recover from

Defendant such sums as would reasonably and justly compensate Plaintiff in accordance with the

rules of law and procedure, as to actual, consequential, and treble damages under the Texas

Insurance Code and Texas Deceptive Trade Practices Act, and all punitive, additional, and

exemplary damages as may be found. In addition, Plaintiff requests the award of attorney's fees

for the trial and any appeal of this case, for all costs of Court expended on Plaintiff's behalf, for

pre-judgment and post-judgment interest as allowed by law, and for any other relief, at law or in

equity, to which Plaintiff may show herself justly entitled.




                                                 13


                                                                                                        13
        Case 1:17-cv-00364-SS Document 1-4 Filed 04/21/17 Page 14 of 14




                                   Respectfully submitted,

                                   MIKE O'BRIEN, P.C.




                             By:
                                   Mike O'Brien
                                   State Bar No. 15170200
                                   14355 Highway 105
                                   Washington, Texas 77880
                                   (713) 222-0088
                                   (713) 222-0888 Fax
                                   mike@moblaw.com

                                   ATTORNEYFORPLAINTITF


Of Counsel:

LAW OFFICE OF DALLI H. SEYB

Dalli H. Seyb
State Bar No 24097785.
752 Main Street, Suite 164
Mansfield, TX 76063
(936) 201-8900
dalli.haley@ymail.com




                                      14


                                                                          14
